                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

DAVID DELL’AQUILA,                         )
LORANNDA BORJA,                            )
TODD CHESNEY, and                          )
BRENT WEBER, on behalf of themselves       )
and all others similarly situated,         )
                                           )
         Plaintiffs,                       )
                                           )
         v.                                )          No. 3:19-cv-00679
                                           )
WAYNE LAPIERRE, the NATIONAL               )          Judge Campbell
RIFLE ASSOCIATION OF AMERICA,              )          Magistrate Judge Frensley
and the NRA FOUNDATION, INC.,              )
                                           )          JURY DEMAND
         Defendants.                       )


                       REPLY IN SUPPORT OF THE NRA FOUNDATION’S
                                   MOTION TO DISMISS




Dated:           March 18, 2020                Respectfully Submitted,

                                               NEAL & HARWELL, PLC

                                                /s/ Aubrey B. Harwell, Jr.
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                                     I.         INTRODUCTION

        Plaintiffs’ Response does not clarify their pleading deficiencies. Instead, it highlights these

deficiencies and contradictions by asserting simple conclusions (rather than pointing to required

factual allegations). Plaintiffs also ignore—and thus concede—many of the NRA Foundation’s

arguments. Critically, Plaintiffs ignore their allegations that the NRA Foundation could use

donated funds for a variety of causes.           Plaintiffs’ inability and refusal to refute the NRA

Foundation’s arguments confirms that the Court should grant the NRA Foundation’s Motion to

Dismiss.

                                          II.    ARGUMENT

A.      Plaintiffs’ Response Confirms They Lack Standing

        Plaintiffs first argue they have standing because a line of New York decisions grants donors

standing to sue charitable organizations. This argument is without merit for several reasons.

        First, Plaintiffs contend that “[c]laims that involve the internal affairs of a corporation

should be resolved in accordance with the law of the state of incorporation.” [D.E. 54, Opp’n at

5]. Even assuming this is correct, New York law cannot apply to the NRA Foundation, which is

chartered in Washington, D.C. [See D.E. 43, Second Am. Compl. at ¶ 7]. 1 Moreover, this

argument confirms that this case is actually about a challenge to the NRA Foundation’s actions

and decisions involving the use of charitable donations. This concession proves that the Court

should dismiss all claims against the NRA Foundation.

        Second, the Court should apply Tennessee law. The only named Plaintiff who made any

donations to the NRA Foundation is Mr. Dell’Aquila, who is a Tennessee resident. [D.E. 43, Am.




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     Although Plaintiffs argue New York law applies to the standing issue, they later contend that
     Washington D.C. law applies to the NRA Foundation. [See D.E. 54, Opp’n at 10].


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Compl. at ¶¶ 1, 37-40]. Because Tennessee has the most significant relationship to this litigation,

Tennessee law applies to the NRA Foundation. See In re Bridgestone/Firestone, 138 S.W.3d 202,

208 (Tenn. Ct. App. 2003). And under Tennessee law, Plaintiffs lack standing to challenge the

NRA Foundation’s decisions (which they concede is what this case is really about). See Tenn.

Code Ann. § 48-53-104.

        Third, the result is the same even if Washington D.C. law applies—Plaintiffs still lack

standing to challenge the NRA Foundation’s actions.           See D.C. Code Ann. § 29-403.04

(prohibiting challenges to validity of nonprofit corporation’s actions as ultra vires except by

certain specified individuals, e.g., the Attorney General, directors, or members).

        Fourth, the New York decisions cited by Plaintiffs are inapposite. In Smithers v. St.

Luke's-Roosevelt Hosp. Ctr., 281 A.D.2d 127 (N.Y. App. Div. 2001), the court conferred donor

standing because the donors specifically reserved rights when they made charitable

contributions—something not present here. In Marcus v. Jewish Nat’l Fund, Inc., 158 A.D.2d 101

(N.Y. App. Div. 1990), the court found donor standing because the charity never allocated any

resources to areas it claimed it would—again, something not present in this case. 2 The NRA

Foundation’s opening brief contains better-reasoned (and more on-point) decisions, all of which

confirm that Plaintiffs lack standing. [See D.E. 47, Mem. in Supp. at 7-8].

B.      The Second Amended Complaint Fails to Satisfy Rule 9(b)

        Plaintiffs next contend their Second Amended Complaint satisfies Rule 9(b)’s particularity

requirements because paragraphs 11-34 “very specifically state[] the statements made by

Defendants, the speaker of such statements, and the time that such statements were made.” [D.E.




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     There is no allegation in the Second Amended Complaint that the NRA Foundation ever failed
     to fund what Plaintiffs call the “NRA’s Core Mission.”


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54, Opp’n at 15-16]. This conclusory argument is simply not true as to the NRA Foundation, and

Plaintiffs cannot conflate statements made by others to make it so. In fact, the bulk of these

allegations concern statements made by other Defendants—not the NRA Foundation. Plaintiffs’

Response confirms their failure to identify any specific “solicitation” made by the NRA

Foundation, the speaker(s), where/when the statement was made, or why it was allegedly

fraudulent. Put another way, Plaintiffs fail to specify the “time, place, and content of the alleged

misrepresentation” as required by Rule 9(b). U.S. ex rel. Bledsoe v. Cmty. Health Sys., Inc., 501

F.3d 493, 505 (6th Cir. 2007).

        Nor can they, because the NRA Foundation never “solicited” donations for use exclusive

to the “NRA’s Core Mission” (thus, there can be no fraud). In fact, Plaintiffs’ own allegations

confirm the NRA Foundation specifically informed donors it could use donated funds for a

variety of causes. For example, the NRA Foundation’s “Mission Statement” states it “focuses on”

shooting sports but also benefits programs “such as youth education, law enforcement training,

hunter education, conservation, firearms and marksmanship training and safety, and much more.”3

[D.E. 43, Second Am. Compl. at ¶ 17 (emphasis added)]. Similarly, the NRA Foundation’s

website describes the “general focus”—but nonexclusive—scope of its grant program. [Id. at ¶

19 (emphasis added)].       These allegations are fatal to Plaintiffs’ claims against the NRA

Foundation. See, e.g., In re Wheland Foundry, LLC, 2008 WL 2952483, at *3 (Bankr. E.D. Tenn.

July 29, 2008) (granting motion to dismiss and stating “the court will not accept conclusory

allegations concerning the legal effect of the events plaintiff has set out . . . if these allegations are

contradicted by the description itself.” (internal quotations and citations omitted)).



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    This also refutes Plaintiffs’ allegations that the NRA Foundation somehow misused donated
    funds by contributing to two youth-oriented charities—something its own “Mission Statement”
    expressly permits.


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C.      Plaintiffs Fail to Plausibly Allege the Elements of Fraud (Count II)

        Without analysis or attempt to rebut the NRA Foundation’s arguments, Plaintiffs next

contend their Second Amended Complaint plausibly alleges the elements of fraud. [D.E. 54,

Opp’n at 14-15]. This conclusory argument fares no better than Plaintiffs’ conclusory allegations.

Plaintiffs fail to plausibly allege the following elements of their fraud claim (Count II):

         (1) Falsity: Any alleged “solicitations” cannot be false because there is no allegation the

NRA Foundation promised to use donated funds exclusively for the “NRA’s Core Mission.” As

discussed above, Plaintiffs actually allege the exact opposite—i.e., the NRA Foundation expressly

reserved the right to use donated funds for a variety of causes. [See D.E. 43, Second Am. Compl.

at ¶¶ 17-19].

        (2) Materiality: 4 As there is no allegation of any failure to fund the “NRA’s Core

Mission,” Plaintiffs cannot plausibly allege the NRA Foundation’s “solicitations” affected their

conduct.

        (3) Knowledge of Falsity: Plaintiffs do not plausibly allege this element because there is

no allegation that the NRA Foundation failed to fund the “NRA’s Core Mission.”

        (4) Reasonable Reliance:       Plaintiffs could not have reasonably relied on the NRA

Foundation’s allegedly misleading “solicitations” from 2015-2019 because they also allege the

NRA Foundation began misusing donated funds as early as 2009. [Id. at ¶¶ 79-80, 83].

         (5) Damages: Plaintiffs’ Response fails to address the conclusory nature of their damages

allegations, which “will not suffice” to state a cause of action. Edison v. Tenn. Dep’t of Children’s

Servs., 510 F.3d 631, 634 (6th Cir. 2007). Nor can Plaintiffs have any damages if the NRA




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     Plaintiffs’ Response does not address this argument.


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Foundation used donated funds in accordance with its Mission Statement—which Plaintiffs

apparently concede. [D.E. 43, Second Am. Compl. at ¶¶ 17-19].

D.     Plaintiffs Fail to Plausibly Allege the Elements of RICO (Count IV)

       Plaintiffs’ final argument is that their Second Amended Complaint states a valid RICO

claim because it adequately pleads scienter. [D.E. 54, Opp’n at 20-21]. The conclusory allegations

Plaintiffs point to are insufficient. See, e.g., Jones v. Ameriquest Mortg., 2016 WL 2866213, at *4

(M.D. Tenn. May 17, 2016) (“Similarly, Plaintiff’s RICO claim is not supported by factual

allegations. Although Plaintiff has recited the statutory language of the RICO statute, she has not

pled any actual fact supporting a RICO claim. Such conclusory allegations will not support a claim

for relief.”). There is also no basis for inferring scienter because Plaintiffs’ allegations confirm

that the NRA Foundation specifically told donors it could use donated funds for a variety of

causes. [D.E. 43, Second Am. Compl. ¶¶ 17-19]. Moreover, the Second Amended Complaint is

devoid of any specific allegation the NRA Foundation ever made any “solicitations” via the U.S.

Postal Service. [See D.E. 43, Second. Am. Compl. at ¶¶ 27-34, 101-114]. Plaintiffs ignore this

argument, which alone dooms their RICO claim.

                                     III.    CONCLUSION

       Rather than respond to the substantive arguments contained in the NRA Foundation’s

Motion to Dismiss, Plaintiffs’ Response either ignores them or continues asserting naked labels

and conclusions devoid of any factual support. The Court should dismiss all claims against the

NRA Foundation.




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                                   CERTIFICATE OF SERVICE

         I certify that I caused a true and correct copy of the foregoing to be electronically filed with

the Clerk of the Court on March 18, 2020, using the CM/ECF system, which will send notification

to all counsel of record as listed below.

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